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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION


UNITED STATES OF AMERICA                     )
                                             )
                                             )    Case No. 1:08CR00024-026
                                             )
v.                                           )    OPINION AND ORDER
                                             )
TIMOTHY ARMET GARRETT,                       )    By: James P. Jones
                                             )    Chief United States District Judge
             Defendant.                      )

      Zachary T. Lee, Assistant United States Attorney, Abingdon, Virginia, for the
United States; Michelle C. F. Derrico, Copenhaver, Ellett & Derrico, Roanoke,
Virginia, for the Defendant, Timothy Armet Garrett.

       In this drug conspiracy case, the parties have reached a tentative plea

agreement, yet the government has refused to sign the document without the

endorsement of a particular provision by defense counsel. In response, the defendant

has filed a motion asking the court to prevent the government from interfering with

his attorney-client relationship. Because I find that there is no improper motive

behind the government’s actions, the defendant’s motion will be denied.

       The defendant in this case has been indicted for conspiracy to distribute and

possess a controlled substance with the intent to distribute in violation of 21 U.S.C.A.

§§ 841(a)(1), (b)(1)(A), 846 (West 1999 & Supp. 2008). As explained in the

defendant’s motion, the parties have agreed to the terms of a plea and have reduced
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them to writing. Although her client has signed the agreement, defense counsel

refuses to sign her name below the following provision:

      I have fully explained all rights available to my client with respect to the
      offenses listed in the pending charging document(s). I have carefully
      reviewed every part of this plea agreement with my client. To my
      knowledge, my client’s decision to enter into this agreement is an
      informed and voluntary one.

(Proposed Plea Agreement 11.) Instead, defense counsel signed next to her client’s

signature, above the statement in question. In return, the government will not execute

the agreement.

      The Federal Rules of Criminal Procedure require that the court “must not

participate” in plea agreement discussions between the parties. Fed. R. Crim. P.

11(c)(1). This prohibition “diminishes the possibility of judicial coercion of a guilty

plea” and preserves the district judge’s status as a “neutral arbiter.” United States v.

Cannady, 283 F.3d 641, 644-45 (4th Cir. 2002) (quoting United States v. Daigle, 63

F.3d 346, 348 (5th Cir. 1995)).

      Even so, I may intervene if the government insists that the plea agreement

include unlawful or unconstitutional terms. Prosecutors are “subject to constitutional

limitations that district courts can enforce.” Wade v. United States, 504 U.S. 181, 185




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(1992).1 I may “review a prosecutor’s refusal to [extend a plea agreement] and to

grant a remedy if [I] find that the refusal was based on an unconstitutional motive.”

Id. at 185-86. To obtain relief, the defendant must present “a substantial threshold

showing” of an improper motive on behalf of the prosecutor, or that the prosecutor’s

decision “was not rationally related to any legitimate Government end.” Id. at 186

(internal quotation marks and citations omitted).

       The government has a legitimate interest in preserving the conviction and

sentence from later collateral attack by the defendant. While the requested statement

by the attorney would not preclude such an attack, it is not unreasonable to believe

that it might assist the government under some circumstances in fending off any later

effort to set aside the guilty plea. For example, if the attorney was unavailable to

testify at some point in the future, the statement might assist in showing that proper

legal advice had been given prior to the plea. Accordingly, I find that counsel for the

defendant has failed to demonstrate that an improper motive is the basis for the

government’s refusal to remove the contested provision of the plea agreement.



       1
          Wade involved a refusal by the government to file a substantial assistance motion
under section 5K1.1 of the United States Sentencing Guidelines Manual. Nevertheless, there
is no reason why I “should treat [this decision] differently from a prosecutor’s other
decisions” that enjoy constitutional scrutiny. Wade, 504 U.S. at 185 (citing Wayte v. United
States, 470 U.S. 598, 608-09 (1985)). Accordingly, I employ here the same principles applied
in Wade.

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      It may be argued that the proposed language requires defense counsel to reveal

information protected by the attorney-client privilege. That does not seem to be the

case here. Confidential communications include only those that are “not intended to

be disclosed to third persons other than in the course of rendering legal services to the

client or transmitting the communications by reasonably necessary means.” United

States v. (Under Seal), 748 F.2d 871, 874 (4th Cir. 1984). The provision in question

asks that defense counsel merely confirm what her client has already disclosed.

      In a statement that proceeds the provision in question, the defendant declared:

“I have consulted with my attorney and fully understand my rights. I have read this

plea agreement and carefully reviewed every part of it with my attorney. I understand

this agreement and I voluntarily agree to it.” (Proposed Plea Agreement 11.) The

provision at issue mirrors this language. Defense counsel must do nothing more than

ensure that she discussed all available rights with her client, explained the terms of

the plea agreement, and attest that her client made an informed and voluntary

decision. There is simply no evidence that the proposed language would cause

defense counsel to reveal a communication intended to be confidential.

      Nor does the proposed language create a conflict of interest between the

defendant and his attorney. Defense counsel has no right to make a “professional

decision” at the expense of her client’s best interest. If an undisclosed confidential

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communication prevents defense counsel from truthfully making the contested

statement, she may withdraw from representation without further explanation.

      Because there is no evidence of an improper motive on behalf of the

government, I must not intervene at this stage. Rule 11(c)(1) requires that the court

remain a “neutral arbiter” between the parties during plea negotiations. Cannady, 283

F.3d at 645. The government has yet to sign the agreement; the plea is not finalized.

If granted, the relief requested would compel the government to exclude a legitimate

provision from the proposed deal. Rule 11(c)(1) does not permit such a result.

      For the foregoing reasons, it is ORDERED that the defendant’s Motion to

Prohibit Government Interference with Attorney-Client Relationship is DENIED.



                                              ENTER: September 27, 2008

                                              /s/ JAMES P. JONES
                                              Chief United States District Judge




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